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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-279
JACOB TRAVIS CLARK, : VIOLATIONS:
> =©18 U.S.C. §§ 1512(c)(2), 2
Defendant. : (Obstruction of an Official Proceeding)

18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
18 U.S.C. § 1752(a)(4)
(Engaging in Physical Violence in a
Restricted Building or Grounds)

: 40U.S.C. § 5104(e)(2)(D)

: (Disorderly Conduct in the Capitol

: Grounds or Buildings)

: 40U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, JACOB
TRAVIS CLARK, attempted to, and did, corruptly obstruct, influence, and impede an official

proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
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Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO
On or about January 6, 2021, within the District of Columbia, JACOB TRAVIS CLARK,
did unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President and Vice President-elect were temporarily visiting, without
lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title
18, United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, JACOB TRAVIS CLARK,
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))
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COUNT FOUR
On or about January 6, 2021, within the District of Columbia, JACOB TRAVIS CLARK,
did knowingly, engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, JACOB TRAVIS CLARK,
willfully and knowingly engaged in disorderly and disruptive conduct in any of the Capitol
Buildings and its grounds with the intent to impede, disrupt, and disturb the orderly conduct of a
session of Congress and either House of Congress, and the orderly conduct in that building of a
hearing before or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e})(2)(D))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, JACOB TRAVIS CLARK,
willfully and knowingly parade, demonstrate, or picket in any of the Capitol Buildings.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

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Attorney of the United States in
and for the District of Columbia.

A TRUE BILL:

FOREPERSON
